Case:18-10965-TBM Doc#:10 Filed:02/13/18           Entered:02/13/18 10:46:07 Page1 of 3



                  UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF COLORADO
In re:                         )
                               )
11380 SMITH ROAD LLC           )     Case No. 18-10965 TBM
EIN XX-XXXXXXX                 )     Chapter 11
                               )
Debtor(s).                     )


                            NOTICE OF AUTOMATIC STAY


TO:          11380 E. Smith Rd Investments, LLC
             Kresher Capital
             3050 Aventura Blvd., 3rd Floor
             Miami, FL 33180

TO:          David Laird, Esq.
             Moye White, LLP
             1400 16th Street, 6th Floor
             Denver, CO 80202
             (Counsel for 11380 E. Smith Rd Investments, LLC)

TO:          Adams County Public Trustee
             Chief Deputy Public Trustee
             4430 S. Adams County Parkway
             1st Floor, Suite W 1000
             Brighton, CO 80601-8217
             (Foreclosure No. AXXXXXXXX - Foreclosure Date: 2/14/18)

       YOU ARE HEREBY NOTIFIED that an Order for Relief has been made for the
Debtor named above based upon a Chapter 11 Voluntary Petition for Relief filed in this
Court on February 13, 2018, in accordance with Title 11 U.S.C. §301. Pursuant to Title 11
U.S.C. §362(a), all creditors of said Debtor are hereby stayed from the following:

      1.     The commencement or continuation, including the issuance or employment
             process, of a judicial, administrative, or other action or proceeding against
             the Debtor that was or could have been commenced before the commence-
             ment of the case under this Title, or to recover a claim against the Debtor that
             arose before the commencement of the case under this Title;

      2.     The enforcement, against the Debtor or against property of the estate, of a
             judgment obtained before the commencement of this case under this Title;
Case:18-10965-TBM Doc#:10 Filed:02/13/18          Entered:02/13/18 10:46:07 Page2 of 3



      3.     Any act to obtain possession of property of the estate or of property from the
             estate or to exercise control over property of the estate;

      4.     Any act to create, perfect, or enforce any lien against property of the estate;

      5.     Any act to create, perfect, or enforce against property of the Debtor any lien
             to the extent that such lien secures a claim that arose before the commence-
             ment of this case under this Title;

      6.     Any act to collect, assess, or recover a claim against the Debtor that arose
             before the commencement of the case under this Title;

      7.     The setoff of any debt owing to the Debtor that arose before the commence-
             ment of the case under this Title against any claim against the Debtor; and

      8.     The commencement or continuation of a proceeding before the United States
             Tax Court concerning the Debtor.

Relief from the automatic stay may be sought by filing a Motion in this Court pursuant to
11 U.S.C. §362(d).

DATED: 2/13/18

                                         Respectfully Submitted,

                                         WEINMAN & ASSOCIATES, P.C.


                                         By: /s/Jeffrey A. Weinman
                                         Jeffrey A. Weinman #7605
                                         730 17th Street
                                         Suite 240
                                         Denver, Colorado 80202
                                         Phone: (303) 572-1010
                                         jweinman@epitrustee.com
Case:18-10965-TBM Doc#:10 Filed:02/13/18       Entered:02/13/18 10:46:07 Page3 of 3




                           CERTIFICATE OF MAILING

       I HEREBY CERTIFY that a true and correct copy of the foregoing NOTICE OF
AUTOMATIC STAY has been placed in the United States mail, postage pre-paid, emailed
and/or faxed on this 13th day of February, 2018 to the following:

11380 E. Smith Rd Investments, LLC (US Mail)
Kresher Capital
3050 Aventura Blvd., 3rd Floor
Miami, FL 33180

David Laird, Esq. (US Mail and Email)
Counsel for 11380 E. Smith Rd Investments, LLC
Moye White, LLP
1400 16th Street, 6th Floor
Denver, CO 80202

Adams County Public Trustee (US Mail and Facsimile)
Chief Deputy Public Trustee
4430 S. Adams County Parkway
1st Floor, Suite W1000
Brighton, CO 80601-8217



                                      /s/Lisa Barenberg
